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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
V.                                                           CAUSE NO. 1:21-CR-327-RC-1
                                                  §
                                                  §
LUKE RUSSELL COFFEE                               §

               SUPPLEMENT TO DEFENDANT’S OPPOSED MOTION TO
                  MODIFY PRETRIAL CONDITIONS OF RELEASE
         TO THE HONORABLE RUDOLPH CONTRERAS, DISTRICT JUDGE OF THE

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA:

         COMES NOW Defendant, Luke Russell Coffee, by and through his attorney of record,

John J. Velasquez, hereby files this Supplement to Defendant’s Opposed Motion to Modify

Pretrial Conditions, and would show this Honorable Court as follows:

         Luke Coffee has no criminal record. He has never been violent. He is not a flight risk,

nor a danger to the community. He has very strong ties to his company and family in Dallas,

Texas.

         The restrictions requiring that Luke Coffee wear a GPS monitor and remain in home

confinement, except for certain preapproved exceptions, are affecting his business financially.

The restrictions prevent Luke Coffee from having business dinner meetings with clients and

customers and/or potential clients and customers. This is how Luke Coffee conducts a lot of his

business.

         His business also requires him to travel and stay overnight in Dallas, Texas and several

other towns and cities throughout Texas and several states. The restrictions prevent Luke Coffee

from doing this.
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       Also, this case has been pending for approximately 15 months, and trial has not yet been

scheduled. It may be several more months before this matter goes to trial.

       Furthermore, Luke Coffee provides the attached Reply to the Government’s

Supplemental Memorandum in Support of Pretrial Detention. Said Reply was previously filed in

this matter by Luke Coffee’s previous defense attorney.




                                            Respectfully submitted.

                                            MAUREEN SCOTT FRANCO
                                            Federal Public Defender


                                            /S/ JOHN J. VELASQUEZ
                                            Assistant Federal Public Defender
                                            Western District of Texas
                                            200 East Wall St., Room 110
                                            Midland, Texas 79701
                                            Tel.: (830) 308-6040
                                            Bar Number: Nebraska 18183

                                            Attorney for Defendant
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                               CERTIFICATE OF SERVICE
       I hereby certify that on the 21st day of April 2022, I electronically filed the foregoing
Supplement to Defendant’s Motion to Modify Pretrial Conditions of Release with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the following:


Peter Lallas
Assistant United States Attorney


                                             /s/ JOHN J. VELASQUEZ
                                             Attorney for Defendant
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